         Case
          Case2:16-cr-00291-GMN-DJA
                2:16-cr-00291-GMN-PAL Document
                                      Document86  Filed05/02/18
                                               85 Filed 05/04/18 Page
                                                                  Page11
                                                                       ofof
                                                                          44


 1   LUCAS J. GAFFNEY, ESQ.
     Nevada Bar No. 12373
 2   GAFFNEY LAW
 3   1050 Indigo Drive, Suite 120
     Las Vegas, Nevada 89145
 4   Telephone: (702) 742-2055
     Facsimile: (702) 920-8838
 5   Lucas@gaffneylawlv.com
 6   Attorney for Johnny Tovar

 7                                UNITED STATES DISTRICT COURT
 8                                        DISTRICT OF NEVADA
 9
                                                     )
10                                                   )
     UNITED STATES OF AMERICA,                       )
11                                                   )   CASE NO: 2:16-cr-00291-GMN-PAL
                     Plaintiff,                      )
12                                                   )   JOHNNY TOVAR’S UNOPPOSED
                     vs.                             )   MOTION FOR TEMPORARY
13                                                   )   MODIFICATION OF CONDITIONS OF
     JOHNNY TOVAR,                                   )   PRETRIAL RELEASE TO PERMIT
14                                                   )   TRAVEL
                     Defendant.                      )
15                                                   )   *Expedited Treatment Requested*
                                                     )
16                                                   )   Detention Judge: Hon. C.W. Hoffman.
                                                     )
17
            COMES NOW, Defendant JOHNNY TOVAR, through his attorney of record, LUCAS J.
18
     GAFFNEY, ESQ., and hereby submits the instant unopposed motion to modify Mr. Tovar’s
19
20   pretrial release conditions to permit travel.

21
22   DATED this 2nd day of May, 2018                             Respectfully submitted,

23                                                               /s/ Lucas J. Gaffney     .
                                                                 LUCAS J. GAFFNEY, ESQ.
24                                                               Nevada Bar Number: 12373
25                                                               Counsel for Johnny Tovar

26
27
28




                                                     1
         Case
          Case2:16-cr-00291-GMN-DJA
                2:16-cr-00291-GMN-PAL Document
                                      Document86  Filed05/02/18
                                               85 Filed 05/04/18 Page
                                                                  Page22
                                                                       ofof
                                                                          44


 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2          This is the Defendant, Johnny Tovar’s, unopposed motion to temporarily modify his
 3
     conditions of pretrial release to permit travel. Undersigned counsel conferred with Kelly Bowen
 4
     from pretrial services on April 30, 2018, and with the Government on May 1, 2018. Neither has
 5
 6   any opposition to the following request. Mr. Tovar respectfully requests expedited treatment of

 7   this motion both because it is unopposed and because the relief requested would expire during an
 8
     ordinary briefing schedule.
 9
            On September 30, 2016, the Court conducted Mr. Tovar’s detention hearing and
10
     Magistrate Judge Hoffman released him on a PR Bond [ECF 13]. The PR Bond restricted Mr.
11
12   Tovar’s travel to Clark County, Nevada. Mr. Tovar now seeks the Court’s permission to travel to

13   Grand Junction, Iowa to attend a family wedding.
14
            Mr. Tovar will leave Las Vegas, Nevada by vehicle on May 18, 2018, and return on May
15
     21, 2018. While in Grand Junction, he will stay at 1118 U Avenue, Grand Junction, Iowa, 50107.
16
17          Therefore, there being no opposition, Mr. Tovar respectfully requests that the Court

18   temporarily modify his conditions of pretrial release to accommodate the foregoing travel plans.
19
20   DATED this 2nd day of May, 2018                            Respectfully submitted,
21
                                                                /s/ Lucas J. Gaffney     .
22                                                              LUCAS J. GAFFNEY, ESQ.
                                                                Nevada Bar Number: 12373
23
                                                                Counsel for Johnny Tovar
24
25
26
27
28




                                                     2
         Case
          Case2:16-cr-00291-GMN-DJA
                2:16-cr-00291-GMN-PAL Document
                                      Document86  Filed05/02/18
                                               85 Filed 05/04/18 Page
                                                                  Page33
                                                                       ofof
                                                                          44


 1
 2                                              ORDER
 3          Good cause appearing and there being no opposition, Johnny’s Tovar’s motion to
 4   temporarily modify the conditions of his pretrial release to permit travel is GRANTED.
 5
 6              4th
     DATED this ____ day of May, 2018.
 7
 8
                                                        ________________________________
 9                                                         United States Magistrate Judge
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28




                                                    3
         Case
          Case2:16-cr-00291-GMN-DJA
                2:16-cr-00291-GMN-PAL Document
                                      Document86  Filed05/02/18
                                               85 Filed 05/04/18 Page
                                                                  Page44
                                                                       ofof
                                                                          44


 1
 2                                  CERTIFICATE OF SERVICE
 3          I hereby certify that on this 2nd day of May, 2018, a true and correct copy of JOHNNY
 4   TOVAR’S UNOPPOSED MOTION FOR TEMPORARY MODIFICATION OF CONDITIONS
 5   OF PRETRIAL RELEASE TO PERMIT TRAVEL was served via the United States District
 6
     Court CM/ECF system on all parties or persons requiring notice.
 7
 8                                                             /s/ Lucas Gaffney          .
                                                               An employee of Gaffney Law
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28




                                                   4
